               Case 2:15-cr-00008-LGW-BWC Document 854 Filed 01/24/18 Page 1 of 2
                                                                         FILED
                                                                  U.S. DISTRICT COURT
                                                                     BRUNSWICK DIV.


                         3ln tlje QEnitelt States! IBisftrirf-^'ot^
                        jFor tlje ^outljem JBisttrict of
                                      prunsitotcfe liti)ts;ton

              DONIEL PORTER,

                        Movant,                            CIVIL ACTION NO.: 2:16-cv-145


                   V.



              UNITED STATES OF AMERICA,                    (CaseNo.:2:15-cr-8)

                        Respondent.


                                              ORDER



                   Presently before the Court is the Magistrate Judge's

              October 25, 2017, Report and Recommendation, dkt. no. 4, to

              which Petitioner Doniel Porter (^^Porter"} failed to file

              Objections.   After an independent and de novo review of the

              entire record, the Court CONCURS with the Magistrate Judge and

              adopts the Report and Recommendation as the opinion of the

              Court.


                   The Court DISMISSES IN PART AND DENIES IN PART Porter's


              Motion to Vacate, Set Aside, or Correct his Sentence, brought

              pursuant to 28 U.S.C. § 2255, DENIES Porter a Certificate of

              Appealability, and DENIES Porter leave to proceed in forma

              pauperis on appeal.




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                   The Court DIRECTS the Clerk of Court to enter the


              appropriate judgment of dismissal and to CLOSE this case.

                   SO ORDERED, this             day Q                       , 2018




                                          HON/LISA GODBEY WOOD, JUDGE
                                              ^ED STATES DISTRICT COURT
                                          SGfUTHERN DISTRICT OF GEORGIA




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(Rev. 8/82)
